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                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF ARKANSAS

ANDREW PEAVY, DORCINE PEAVY,
LARRY PEAVY, AND
JIMMY PEAVY                                                                       PLAINTIFFS

          V.                               CASE NO. 4:14cv316 SWW

TLD LOGISTICS SERVICES INC. and
TERRY TICHENOR                                                                   DEFENDANTS

                         AGREED ORDER OF DISMISSAL WITH PREJUDICE

          On this 28th day of April, 2016, came on to be considered the Joint Motion to Dismiss

filed by Plaintiffs Andrew Peavy, Dorcine Peavy, Larry Peavy and Jimmy Peavy, as well as

Defendants, Terry Tichenor and TLD Logistics Services, Inc. The Court having been advised

that the matter has settled, finds that it has jurisdiction over the claims and that the Motion

should be granted.

           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all claims which were

asserted or which could have been asserted in this suit by Andrew Peavy, Dorcine Peavy, Larry

Peavy and Jimmy Peavy are dismissed with prejudice to refiling same. All counter-claims and

cross-claims asserted by TLD Logistics Services, Inc. and Terry Tichenor are dismissed with

prejudice to refiling same. All parties shall bear their own costs.


          IT IS SO ORDERED this 28th day of April 2016.

                                                  /s/Susan Webber Wright
                                                  United States District Judge




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APPROVED:


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